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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                     CORPUS CHRISTI DIVISION

JOE O. RODRIGUEZ, JR.,                                     §
                                                           §
            Plaintiff,                                     §
VS.                                                        § CIVIL ACTION NO. 2:13-CV-133
                                                           §
BANK OF AMERICA, N.A., et al,                              §
                                                           §
            Defendants.                                    §

                                                      ORDER

          Before the Court is Defendants’ Motion for Summary Judgment (D.E. 31) in this

mortgage-related lawsuit. The motion also seeks a pre-filing injunction against Plaintiff

as a “vexatious litigant.” In his response (D.E. 43, 44), Plaintiff seeks an order striking

Defendants’ affidavit evidence (D.E. 31-1, 31-4). For the reasons set out below, the

Motion to Strike (D.E. 44) is DENIED, and the Motion for Summary Judgment (D.E. 31)

is GRANTED IN PART with respect to dismissal of Plaintiff’s claims, and DENIED IN

PART with respect to the request for a pre-filing injunction.

                                        PROCEDURAL POSTURE

          On September 25, 2012, Plaintiff Joey O. Rodriguez (Rodriguez)1 filed suit in the

79th Judicial District Court, Jim Wells County, Texas, against “Countrywide Home Loans

Servicing, L.P. or Bank of America, N.A., as Successor by Merger to BAC Home Loans

Servicing, L.P.” The action was removed to this Court as Civil Action No. 2:12-cv-325.

See D.E. 1-2 in 2:12-cv-325. Rodriguez complained of the Bank of America foreclosure

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    Rodriguez also appeared as “Joe O. Rodriguez, Jr.” in that case. E.g., D.E. 13, p. 2 in 2:12-cv-325.

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of a deed of trust lien on his home at 1211 Washington Street, Alice, Texas. On March 6,

2013, the case was resolved against Rodriguez by this Court’s order granting Defendant

Bank of America, N.A.’s2 motion to dismiss. Rodriguez had pled claims for wrongful

foreclosure, fraud, and violations of the Texas Deceptive Trade Practices Act (DTPA),

the Texas Finance Code, the Real Estate Settlement Procedures Act (RESPA), and the

Truth in Lending Act (TILA). He sought declaratory and injunctive relief. Rodriguez

did not appeal the judgment.

        Less than two months after this dismissal, on May 1, 2013, Rodriguez filed the

current case, again in the 79th Judicial District Court, Jim Wells County, Texas, against

“Countrywide Home Loans Servicing, LP or Bank of America, N.A., as Successor by

Merger to BAC Home Loans Servicing, LP, and ReconTrust Company, N.A.” D.E. 1-1.

He again complains of the Bank of America foreclosure of a deed of trust lien on 1211

Washington Street, Alice, Texas. He alleges claims described as slander of title, statutory

fraud, common law fraud, cloud on the title, foreclosure fraud, wrongful debt collection

practices, intentional misrepresentation, fraudulent concealment, negligent misrepresent-

ation, fraud by omission, and unjust enrichment. He also alleges claims related to the

Federal Trade Commission and violations of the DTPA, TILA, RESPA, Fair Housing

Act (FHA), Fair Credit Reporting Act (FCRA), Texas Property Code, Texas Government

Code, Texas Business & Commerce Code, and 18 U.S.C. § 1963. Rodriguez seeks

declaratory and injunctive relief.


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  Filed by Bank of America individually and as successor by merger to BAC Home Loans Servicing, LP f/k/a
Countrywide Home Loans Servicing, LP.
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       Defendants removed Rodriguez’s dispute to this Court and seek summary

judgment on the basis of res judicata and collateral estoppel, as well as on the merits of

each claim. D.E. 31. Defendants also argue that Rodriguez is a vexatious litigant and

they seek a pre-filing injunction against Rodriguez to prevent him from filing additional

litigation against them without first obtaining the permission of the Court. Id.

                                      DISCUSSION

   A. Res Judicata

       Despite the labels he puts on them, all of Rodriguez’s claims arise from Bank of

America’s June 5, 2012 foreclosure of the deed of trust lien on Rodriguez’s property after

Rodriguez defaulted on the promissory note secured by the deed of trust. There is no

dispute that the loan was in default or that the deed of trust imposed a lien to secure

payment of the note. Rodriguez’s complaints are that Bank of America did not have

proper assignments of the note or deed of trust and that the assignment, if any, of the

deed of trust was not properly recorded in violation of the law. His claims are all based

on the argument that Defendants did not have the necessary authority to foreclose.

       This Court adjudicated these claims in the prior lawsuit, No. 2:12-cv-325. The

doctrine of res judicata precludes a plaintiff from bringing the same claims in a new

lawsuit. The prior final judgment determined all claims that were expressed in the prior

lawsuit along with any other theories arising from the same nucleus of operative facts as

between the same parties. United States v. Davenport, 484 F.3d 321, 325-26 (5th Cir.

2007); In re Ark-La-Tex Timber Co., 482 F.3d 319, 330 (5th Cir. 2007).


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         Under res judicata, Bank of America individually and as successor by merger to

BAC Home Loans Servicing, LP f/k/a Countrywide Home Loans Servicing, LP is

entitled to judgment on all claims that Rodriguez asserted in the prior lawsuit, along with

all claims that, with due diligence, he could have asserted in the prior lawsuit, including

all of the claims asserted against Bank of America here.            The Court GRANTS

Defendants’ Motion for Summary Judgment (D.E. 31) as to those Defendants on the

basis of res judicata. However, because ReconTrust was not a party to the prior action,

the Court will review the arguments for summary judgment based on the merits of the

case.

   B. Summary Judgment Evidence

         Rodriguez complains that Defendants’ summary judgment evidence is insufficient

to support the judgment that Defendants request. In particular, Rodriguez objects that the

declaration of Jessica L. Valdez (D.E. 31-1) is hearsay because it is based on “working

knowledge” and “review of books and business records.” The Court has reviewed the

declaration and finds that it qualifies for the business records exception to the hearsay

rule. Fed. R. Evid. 803(6). Rodriguez’s hearsay objection is OVERRULED.

         Rodriguez further objects that the Corporation Assignment of Deed of Trust/

Mortgage (D.E. 31-4) by which Bank of America purports to have obtained rights to

Rodriguez’s deed of trust is fraudulent because it is signed by Melanie Cowan as Vice

President of Countrywide Home Loans, Inc. and dated May 1, 2012. According to

Rodriguez, Ms. Cowan’s unauthenticated LinkedIn profile (D.E. 44-1, p. 2) shows that

she was employed by ReconTrust/Bank of America during the relevant time period and
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does not list Countrywide Home Loans as an employer. Rodriguez has not complied

with the law with respect to authentication of documents as summary judgment proof.

Additionally, the LinkedIn profile, without more, is not evidence of fraud. Therefore, the

Court OVERRULES Rodriguez’s objection to Defendants’ use of the Corporation

Assignment of Deed of Trust/Mortgage as proof of its right to foreclose the lien on

Rodriguez’s property.

   C. Claims on the Merits

       All of Rodriguez’s allegations and all of the matters he raised in his summary

judgment response go to the issue of whether Defendants were the owners and holders of

the note and deed of trust so as to have authority to foreclose. He cannot prevail on a

“show me the note” theory because it is well-settled in Texas law that Defendants were

not required to own the note when they foreclosed the deed of trust lien. E.g., Bierwirth

v. BAC Home Loans Servicing, L.P., No. 03–11–00644–CV, 2012 WL 3793190, *3 (Tex.

App.—Austin, no pet.).

       Defendants have provided adequate proof that they were assignees of the deed of

trust and that the note was in default—a matter that Rodriguez does not dispute. D.E. 31-

1 (business records affidavit proving up documents, including note payment history), 31-

2 (copy of the original note endorsed by Countrywide Home Loans, Inc. in blank), 31-3

(copy of the deed of trust), 31-4 (assignment of the deed of trust to Bank of America,

N.A.), 31-5 (payment history for the note), 31-6 (Substitute Trustee’s Deed). Defendants

have shown that they had the authority to foreclose the lien. Therefore, without contrary


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proof, Rodriguez has failed to demonstrate his right to prevail on any of his legal

theories.

   D. Vexatious Litigant and Pre-Filing Injunction

       Whether to impose a pre-filing injunction against a vexatious litigant is a matter

within the court’s discretion, after affording notice and an opportunity to be heard, as part

of its inherent power to control its dockets and issue sanctions in that effort. Farguson v.

MBank Houston, N.A., 808 F.2d 358, 360 (5th Cir. 1986); Day v. Allstate Ins. Co., 788

F.2d 1110, 1115 (5th Cir. 1986). The court may impose fines, hold a party in contempt,

and require a party to obtain the court’s approval before filing additional litigation against

the present parties or more globally. Day, supra. While this Court declines to exercise

its discretion to impose such a sanction on Rodriguez at this time, this Court will not look

favorably on any additional attempts by Rodriguez to challenge its judgments in this case

and in 2:12-cv-325 by collateral attack rather than by appeal.

                                      CONCLUSION

       For the reasons set out above, the Court DENIES Rodriguez’s Motion to Strike

(D.E. 44), GRANTS IN PART Defendants’ Motion for Summary Judgment (D.E. 31)

and dismisses Rodriguez’s action, and DENIES IN PART Defendants’ Motion for

Summary Judgment with respect to the request for a pre-filing injunction against

Plaintiff.

       ORDERED this 28th day of January, 2014.

                                               ___________________________________
                                               NELVA GONZALES RAMOS
                                               UNITED STATES DISTRICT JUDGE
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